CAT 3        Case: 1:21-cr-00614 Document #: 2 Filed: 09/30/21 Page 1 ofJUDGE
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                                                                                  #:5
                                                                       MAGISTRATE JUDGE GILBERT

      FIL ED                        1:21-CR-00614__FILGiIIY
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                           JMK
                            UNITED STATES DISTRICT COURT
               . BRUTO N
      THOMAS G           RT NORTHERN DISTRICT OF ILLINOIS
             ISTRICT COU
                D
  CLERK, U.S.
                        DESIGNATION SHEET FOR CRIMINAL PROCEEDINGS

        1. Is this an indictment or information arising out of offlenses charged in one or more
        previously-filed complaints signed by a magistrate judge? No ffou must answer lb even if
        the answer is No)

                1a. If the answer is 'Yes," list the case number and title of the earliest frled
                complaint: N/A

                lb.    Should this indictment or information receive a new case number from the
                court? Yes.

        2.      Is this an indictment or information that supersedes one or more previously-frled
        indictments or informations? No

                2a. If the answer is 'Yes," Iist the case number and title of the earliest frled
        superseded indictment      or information and the name of the assigned judge (Local Rule
        a0.3(b)(2)):

        3.      Is this a re-filing of a previously dismissed indictment or information? No

      4- Is this a case arising out of the failure of the defendant to appear                in a criminal
      proceeding in this Court? No

      5.        Is this a transfer of probation supervision from another district to this District? No

      6.        What level of offense is this indictment or information? Felony

      7.        Does this indictment or information involve eight or more defendants? No

      8.        Does this indictment or information include a conspiracy count? No

      9. Identify the type of offense that describes the count, other than any conspiracy count,
      with the most severe penalty:

               Other Fraud (III)

      10.    List the statute of each of the offenses charged in the indictment or information.

             Securities fraud, in violation of Title 15, United States Cod.e, Sections 78j(b) and 78ff;
             and Title 17, Code of Federal Regulations, Section Z4O.LOb-1.

                                                             /s/あ んんD.Л    ttjι cん   θι
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                                                          JOHN D. MITCHELL
                                                          Assistant United States Attorney
